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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,
                                                                       COMPLAINT
        Plaintiff,

                     v.                                                20 Civ. 10468

 JULIA SOLOMON,

        Defendant.



       1.      The United States of America, by its attorney, Audrey Strauss, Acting United

States Attorney for the Southern District of New York, brings this civil action to collect the

unpaid civil penalties assessed against Defendant Julia Solomon (“Solomon”) for her failure to

report timely her financial interest in foreign bank accounts, as required by the Bank Secrecy Act

(“BSA”), 31 U.S.C. § 5314, and its implementing regulations, and to collect all amounts that

have accrued and that continue to accrue since the date of assessment, including but not limited

to accrued interest on such penalties, late payment penalties, and associated fees. In support, the

United States alleges upon information and belief as follows:
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                                  JURISDICTION AND VENUE

        2.      The United States brings this suit under 31 U.S.C. §§ 5321(b)(2) and

3711(g)(4)(C), at the direction of the Attorney General of the United States and at the request of,

and with the authorization of, a delegate of the Secretary of the Treasury of the United States.

        3.      The Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1345, and

1355 because it arises under a federal statute, the United States is the plaintiff, and the action

seeks recovery or enforcement of civil penalties.

        4.      Venue is proper in this district under 28 U.S.C. § 1391(c)(1) because Julia

Solomon is a United States citizen who resides in this district in New York, New York.

REGULATORY BACKGROUND REGARDING THE DUTY TO REPORT RELATIONS
             WITH FOREIGN FINANCIAL INSTITUTIONS

        5.      Section 5314(a) of Title 31 provides that the Secretary of the Treasury “shall

require” a U.S. citizen or resident to file reports when he or she “makes a transaction or

maintains a relation for any person with a foreign financial agency.”

        6.      Although Congress did not define what constitutes a “relation” with a foreign

financial agency, the implementing regulations make clear that “relationship” is a U.S. person’s

“financial interest in, or signature or other authority over, a bank, securities, or other financial

account in a foreign country.” 31 C.F.R. § 1010.350(a) (2011); see also 31 C.F.R. §§103.24

(2009), 103.32 (2009).

        7.      A report is required for any year in which the aggregate balance for such foreign

financial accounts exceeds $10,000. 31 C.F.R. § 1010.350(a) (2011); 31 C.F.R. § 1010.306(c)

(2010) (replacing 31 C.F.R. § 103.27 (2009)).




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         8.      Section 5321(a)(5) of Title 31 authorizes the imposition of civil penalties for

violations of the reporting requirements of Section 5314. Specifically, § 5321(a)(5)(B) provides

for a penalty of up to $10,000 per violation.

         9.      For the 2003–2010 years at issue, the relationships were reported on Form TD F

90-22.1, “Report of Foreign Bank and Financial Accounts,” commonly known as an “FBAR,”

which was due by June 30 of the following year. 31 U.S.C. § 5314; 31 C.F.R. §§ 1010.350(a),

§ 1010.306(c).

         10.     Each foreign financial account must be listed separately on the FBAR, with the

limited exception for 25 or more accounts. See FBAR, Parts II, IV, available at

https://www.irs.gov/pub/irs-pdf/f90221.pdf.

         11.     The penalty set forth under 31 U.S.C. § 5321(a)(5)(B) is subject to interest and

further penalties pursuant to 31 U.S.C. § 3717.

                 JULIA SOLOMON’S FAILURE TO TIMELY REPORT HER
               RELATIONSHIPS WITH FOREIGN FINANCIAL INSTITUTIONS

         12.     Julia Solomon was born a United States citizen and lived in the United States

during the years at issue, 2003–2010.

         13.     ABN AMRO is a bank located in the Netherlands.

         14.     Clariden Leu is a bank located in Switzerland.

         15.     Between the years 2003 and 2010, Julia Solomon had a financial interest in, or

signature authority over, the foreign bank accounts with the maximum balances listed in the table

below:




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                             Account No.        Max.
 Year         Bank
                             (last 4 digits)    Balance

 2003         ABN-AMRO       0005               $655,584

 2004         ABN-AMRO       0005               $656,121

 2005         ABN-AMRO       0005               $669,446

 2006         ABN-AMRO       0005               $673,444

 2006         Clariden LEU   8700               $427,993

 2006         Clariden LEU   8600               $84,573

 2007         Clariden LEU   5212               $421,522

 2007         Clariden LEU   4945               $3,243,694

 2008         Clariden LEU   4945               $2,450,522

 2009         Clariden LEU   4945               $2,723,423

 2010         Clariden LEU   4945               $3,572,604


                                          COUNT 1
                                  Judgment for § 5321 Penalties

        16.      Julia Solomon did not report the relationships she had with foreign financial

institutions during 2003–2010, by June 30 of the respective following years.

        17.      In 2012, Julia Solomon late filed FBARs that reported her relationships with

foreign financial accounts that are identified in the table following paragraph 15, above.

        18.      By consent forms dated September 20, 2012, August 4, 2014, April 20, 2016, and

February 10, 2017, Solomon consented to extend the statute of limitations for assessing the

FBAR penalty for calendar years 2003 through 2010 to December 31, 2018.


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       19.      By letter dated November 7, 2018, a delegate of the Secretary of the Treasury

proposed the assessment of penalties against Solomon pursuant to 31 U.S.C. § 5321(a)(5)(A) and

(B) for her non-willful failure to report her relationships with foreign financial institutions for the

years 2003–2010 as follows:

        Year      Number of           Penalty
                  Relationships
        2003                  1       $10,000
        2004                  1       $10,000
        2005                  1       $10,000
        2006                  3       $30,000
        2007                  2       $20,000
        2008                  1       $10,000
        2009                  1       $10,000
        2010                  1       $10,000
        Total                        $110,000


       20.      On November 18, 2018, Solomon signed an agreement to the assessments—a

Form 13449, Agreement to Assessment and Collection of Penalties Under 31 U.S.C.

§§ 5321(a)(5) and 5321(a)(6). Her attorney also executed the same agreement on her behalf on

November 20, 2018.

       21.      On December 11, 2018, a delegate of the Secretary of the Treasury assessed

against Solomon the penalties described in the table following paragraph 19.

       22.      By letter dated December 12, 2018, a delegate of the Secretary of the Treasury

gave Solomon notice and demand for payment of the subject FBAR penalty assessments for the

years 2003–2010. Despite the notice and demand for payment, Solomon has failed to pay the

FBAR penalties assessed against her.




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       23.     As of November 6, 2020, Solomon owed the United States $124,682.74 in

penalties assessed under 31 U.S.C. § 5321, as well as any penalties, interest and other statutory

additions that had accrued to that date, and will continue to accrue, as provided by law.

                                    RELIEF REQUESTED

       The United States of America requests:

       A. That the Court enter judgment in favor of the United States against Julia Solomon for

the civil penalties assessed against her for violations of 31 U.S.C. § 5314 for the years 2003–

2010 plus any penalties, interest and any other statutory additions in the amount of $124,682.74

as of November 6, 2020, plus penalties, interest and any other statutory additions that continue to

accrue to the date of payment;

       B. That the Court order any other relief that is just and proper.



Dated: December 10, 2020
       New York, New York


                                              Respectfully submitted,

                                              AUDREY STRAUSS
                                              Acting United States Attorney for the
                                              Southern District of New York

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